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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,§
       Plaintiffs,                  §
                                    §
 v.                                 §   Case No. 5:21-cv-844-XR
                                    §   [Lead Case]
 GREGORY W. ABBOTT, et al.,         §
       Defendants.                  §
                                    §
 LULAC TEXAS, et al.,               §
       Plaintiffs,                  §
                                    §
 v.                                 §   Case No. 1:21-cv-0786-XR
                                    §   [Consolidated Case]
 JOHN SCOTT, et al.,                §
       Defendants                   §
                                    §
                 UNOPPOSED MOTION FOR STAY PENDING APPEAL

       Third-party legislators Senator Hughes, Senator Bettencourt, Representative Cain, and

Representative Murr respectfully request a stay pending appeal of the Court’s order granting the

LULAC Plaintiffs’ motion to compel. See ECF 425.

       The legislators satisfy the four factors courts consider when granting stays pending appeal.

See, e.g., Weingarten Realty Inv’rs v. Miller, 661 F.3d 904, 910 (5th Cir. 2011). First, the

legislators are likely to succeed on the merits for the reasons identified in their briefing and at

argument, see ECF 397, including because the Court’s ruling conflicts with the decisions of three

Circuit Courts on a question of law over the scope of the legislative privilege that is unsettled in

the Fifth Circuit. See Am. Trucking Ass’ns, Inc. v. Alviti, 14 F.4th 76 (1st Cir. 2021); Lee v. City of

Los Angeles, 908 F.3d 1175 (9th Cir. 2018); In re Hubbard, 803 F.3d 1298 (11th Cir. 2015).

Second, absent a stay, the legislators face irreparable injury because the court’s order requires the

disclosure of privileged information before appellate review could be completed, even with an



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expedited schedule. See ECF 425 at 17 (setting a deadline of June 3, 2022). Third, a stay will not

substantially injure the LULAC Plaintiffs because, as explained in more detail below, the parties

have agreed to propose an expedited briefing schedule on appeal. Fourth, protecting legislative

privilege promotes the public interest in good government and better-informed legislation. See

Tenney v. Brandhove, 341 U.S. 367, 377 (1951); Lee, 908 F.3d at 1187.

        LULAC Plaintiffs agree not to oppose the legislators’ motion to stay in order to more

expeditiously resolve the issues raised by the legislators’ forthcoming interlocutory appeal. To that

end, Plaintiffs and the legislators have agreed to negotiate an expedited schedule to fully brief the

legislators’ appeal by the end of July. By agreeing not to oppose the legislators’ motion to stay,

and further agreeing to an expedited briefing schedule, the Plaintiffs do not concede that the

legislators are able to satisfy the relevant stay factors. Plaintiffs also do not waive any argument

that might be presented to the Court of Appeals. Similarly, Plaintiffs reserve the right to ask this

Court for further relief if, for any reason, the parties are not able to expeditiously resolve the issues

on appeal.

        The legislators respectfully request that the Court enter a stay pending appeal.




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Date: May 27, 2022                            Respectfully submitted.

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                                              Counsel for the Third-Party Legislators


                             CERTIFICATE OF CONFERENCE

        I certify that counsel for the third-party legislators conferred with counsel for the LULAC
Plaintiffs about the foregoing motion on May 26 and 27, 2022. Counsel for the LULAC Plaintiffs
have stated that their clients do not oppose a stay pending appeal so long as the third-party
legislators do not oppose an agreed expedited briefing schedule in the Fifth Circuit.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN


                                CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on May 27, 2022, and that all counsel of record were served by CM/ECF.

                                               /s/ Patrick K. Sweeten
                                               PATRICK K. SWEETEN




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